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                      IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

   ELMER WILLIAMS,                      )
                                        )
         Plaintiff,                     )
                                        )
   v.                                   )
                                        )
   RICKY DIXON, in his official         )
   capacity as Secretary of the Florida )
   Department of Corrections,           )
   CENTURION OF FLORIDA, LLC,           )
                                          Case No.: 3:22-cv-01221-MMH-
   MHM HEALTH PROFESSIONALS, )
                                          MCR
   LLC, ALEXIS FIGUEROA M.D.,           )
   KALEM SANTIAGO, JASON                )
   HOWELL, ELIZABETH HOLMES,            )
   TONY ABBOTT, GERALD KNAUS, )
   JESSEE MORRIS, ADELE JOHNS,          )
   WENDY MILLETTE and SGT.              )
   SAVONIA RICHARDSON-                  )
   GRAHAM,                              )

             Defendants.

              DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF
                 TIME TO RESPOND TO PLAINTIFF’S COMPLAINT

           Pursuant to Federal Rule of Civil Procedure 6(b), Defendant, Jessee Morris

  (“Morris”), by and through undersigned counsel, hereby files this Motion for

  Extension of time to Respond to Plaintiff Elmer Williams’ (“Mr. Williams”)

  Complaint and state as follows:




  4856-5389-0881.1
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        1.       Plaintiff Elmer Williams’ (“Mr. Williams”) filed his initial Complaint

  against Morris on November 04, 2022. (ECF No. 1).

        2.       Morris was served on November 20, making her response due December

  12, 2022.

        3.       Morris requests a one-week extension to respond to the Complaint,

  making Morris’s response due December 19, 2022.

        4.       The extension is needed due to the press of other matters for undersigned

  counsel, including several hearings and a mediation scheduled the week of December

  5, coupled with several other dispositive motions coming due.

        5.       The extension is not sought for purposes of delay.

        6.       The extension will not prejudice Mr. Williams. Several other defendants

  have not yet been served, so the short extension will not delay resolution of these

  proceedings.

                               MEMORANDUM OF LAW

        Federal Rule of Civil Procedure 6(b) provides, in pertinent part, that “when an

  act may or must be done within a specified time, the court may, for good cause, extend

  the time: with or without motion or notice if the court acts, or if a request is made,

  before the original time or its extension expires . . . .” As such, the Rule affords the

  Court wide discretion to enlarge the time for Defendants to respond to the Amended




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  Complaint. See Johnson v. Bd. of Regents of Univ. of Ga., 263 F.3d 1234, 1269 (11th Cir.

  2001); Woods v. Allied Concord Financial Corp., 373 F.2d 733 (5th Cir. 1967). 1

         Rule 6(b) should be applied liberally to satisfy the stated purpose of the Federal

  Rules of Civil Procedure, which is "to secure the just, speedy and inexpensive

  determination of every action." Fed. R. Civ. P. 1. Enlargements of time should be

  available when a party demonstrates a reasonable basis for such request. See Beaufort

  Concrete Co. v. Atlantic States Construction Co., 352 F.2d 460, 462 (5th Cir. 1965) (“Rule

  6(b) is a rule of general application giving wide discretion to the court.”).

         Here, as demonstrated above, there is good cause for allowing an extension until

  December 19, 2022, to respond to the Complaint. The short-extension is needed due

  to undersigned counsel’s busy schedule the week of December 5, and Mr. Williams

  will not be prejudiced. As such, good cause exists for the extension.

         WHEREFORE, Morris respectfully requests the Court (1) grant this Motion,

  and (2) grant Morris an extension until December 19, 2022, to respond to the

  Complaint.

                         LOCAL RULE 3.01(g) CERTIFICATION

          The undersigned certifies he has conferred with counsel for Mr. Williams who

  does not oppose the relief sought in this motion.




  1
   Pursuant to Bonner v. City of Prichard, Ala., 661 F.2d 1206 (11th Cir. 1981), opinions of the Fifth
  Circuit issued prior to October 1, 1981, are binding precedent in the Eleventh Circuit.
                                                     3
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  Dated: December 2, 2022

                                 /s/ Jacob Hanson
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                                Counsel for Defendants Centurion of Florida,
                                LLC, MHM Health Professionals, and Jessee
                                Morris
                         CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 2, 2022, I electronically filed the
  foregoing with the Clerk of the Court using the CM/ECF system which will send
  notification to counsel of record:
                                      /s/ Jacob Hanson
                                      Jacob Hanson
                                      Counsel for Defendants Centurion of
                                      Florida, LLC, MHM Health Professionals,
                                      and Jessee Morris


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